Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 1 of 9




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


 ELLIOT GORR, individually and on behalf of            )
 all others similarly situated;                        )
                                                       )
                                Plaintiffs,            )
 v.                                                    )
                                                       )
 KAOS LIMITED, KYLEENA FALZONE,                        )
 CARSON WEST and BENJAMIN DIEM,                        )
                                                       )
                                Defendant.             )
                                                       )

                           DECLARATION OF ANTHONY GOMEZ

        I, Anthony Gomez, being duly sworn, do hereby depose and state as follows:

        1.      I am one of the principals of Optime Administration, LLC (“Optime”), a firm that

 provides notice and claims administration services for class action settlements. Optime has

 experience in all areas of settlement administration, including providing notice to class members,

 processing claim forms, and distributing settlement proceeds to class members.

        2.      On October 27, 2021, Optime was retained to administer a settlement in the case

 captioned above.

        3.      Optime is the settlement administrator in this case and has been responsible for

 carrying out the terms of the parties’ settlement agreement with respect to distributing and

 following up on undeliverable or returned notices and collecting claim forms and objections.

 Following settlement approval, Optime will also be responsible for distributing the proceeds of

 the settlement fund to the class members.

        4.      I submit this affidavit to inform the parties and the Court about the settlement

 administration activities completed to date in this case.




                                                   1
Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 2 of 9




        5.      On January 14, 2022, Optime was given the Class Notice [EXHIBIT 1] and court

 documents.

        6.      On January 19, 2022, Optime was given a class list of 77 individuals with their

 last known mailing address.

        7.      On January 20, 2022, Optime issued a mailing packet via first class mail to 77

 class members at their last known address. The mailing packet contained a copy of the court

 approved notice and were printed in English.

        8.      Mailing packets that were returned to Optime by the United States Postal Service

 (USPS) as undeliverable were promptly researched through a public records database called

 Intelius. To my knowledge, Intelius is the best resource available for researching updated

 address information. If an updated address was found in the database, the mailing packet was

 resent via first class mail. As of March 16, 2022, 26 mailing packets were returned as

 undeliverable by USPS. The 26 addresses that were deemed undeliverable by USPS were

 researched through Intelius and 11 updated addresses were found. The 11 mailing packets were

 resent to the updated addresses. Of the 26 mailing packets that were returned, 16 were

 unreachable.

        9.      As of March 23, 2022, to the best of our knowledge, 61 of the 77 Notice mailing

 packets have been successfully delivered.

        10.     On March 23, 2022, Optime send an electronic notice email to the 16 class members

 who did not receive the mailing packet.

        11.     As of March 23, 2022, Optime received 0 Opt-Outs.

        12.     As of March 23, 2022, Optime received 0 objections.

        Signed on March 29, 2022, under the pains and penalties of perjury.


                                                Anthony Gomez
                                                  2
Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 3 of 9




           EXHIBIT 1




                                      3
Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 4 of 9




            NOTICE OF PROPOSED SETTLEMENT AND RIGHT TO OPT-OUT
                                 Elliot Gorr v. Kaos Limited, et al.
                                No. 1:21-cv-00466-NRN (D. Colo.)

    A COURT AUTHORIZED THIS NOTICE. THIS IS NOT A SOLICITATION FROM A
                               LAWYER.
         TO: [INSERT CLASS MEMBER’S NAME]
         PLEASE READ THIS NOTICE CAREFULLY. IT TELLS YOU ABOUT
          THE SETTLEMENT OF A CLASS ACTION LAWSUIT THAT
          INCLUDES YOU.
         YOU ARE ELIGIBLE TO RECEIVE A PAYMENT FROM THE
          SETTLEMENT OF THIS LAWSUIT.
         IF YOU WISH TO OBJECT TO OR EXCLUDE YOURSELF FROM
          THE SETTLEMENT, YOU MUST FOLLOW THE DIRECTIONS IN
          THIS NOTICE.
         IF YOU RECEIVED THIS NOTICE ON BEHALF OF A CLASS
          MEMBER WHO IS DECEASED, YOU SHOULD PROVIDE THE
          NOTICE TO THE AUTHORIZED LEGAL REPRESENTATIVE OF
          THAT CLASS MEMBER.
 A proposed settlement has been reached between the parties in this class action pending in the
 United States District Court for the District of Colorado brought on behalf of “all hourly tip credit
 employees who worked for Bonez Restaurant in Crested Butte, Colorado from February 17, 2018,
 to May 01, 2021” (the “Settlement Class”). The court has preliminarily approved the settlement.

 You are receiving this Notice because you are a member of the Settlement Class. This Notice
 informs you of how you can object to the settlement or exclude yourself from the settlement. If the
 settlement is finally approved by the Court, you will receive a settlement payment and will be
 bound by the settlement unless you exclude yourself from the settlement by following the
 instructions in this Notice.

 If the Court finally approves the settlement and you do not exclude yourself from the settlement,
 you will receive a gross, pre-tax payment of approximately $[insert amount].

 The Court will decide whether to finally approve the settlement during a hearing (“the Fairness
 Hearing”) to be conducted at 10:30 AM on APRIL 7, 2022, in Courtroom C203, Second floor,
 Byron G. Rogers Courthouse, 1929 Stout Street, Denver, Colorado 80294.




                                                  1
<<ID>> - <<FIRST>> <<LAST>>
Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 5 of 9




 What Is The Class Action About?
 This action involves a class of seventy-seven (77) current and former Bonez employees who
 participated in a tip pool, which included kitchen staff. The action seeks unpaid wages on behalf
 of these individuals. Plaintiff alleges the tip practices at Bonez violated state and federal law;
 Plaintiff further alleges employees were not provided meal and rest breaks in accordance with state
 law. Defendants deny any wrongdoing or liability. The settlement is an effort by both sides to
 avoid costly litigation. The Court has not decided who is right.

 What Are My Rights?
 You have the following choices:

  DO NOTHING AND              By doing nothing, you will remain in the Settlement Class and you
  STAY IN THE                 will receive a settlement payment check. By cashing the settlement
  SETTLEMENT                  check, you will be legally bound by all orders and judgments entered
  CLASS                       by the Court. You will not be able to sue, or continue to sue,
                              Defendants in any lawsuit relating to the alleged improper tip practices
                              and meal and rest breaks during the time period covered by the
                              settlement.

  EXCLUDE                     You may exclude yourself from of the Settlement Class. If you
  YOURSELF FROM               exclude yourself, you will receive no benefits or payment, you will
  THE SETTLEMENT              not give up any legal claims you may have against Defendants, and
  CLASS                       you will not be bound by any orders or judgments of the Court. To
                              exclude yourself from the settlement, you must send a letter stating
  Postmark Deadline:          that you want to exclude yourself from the Settlement Class. This
  [45 days after Notice       letter must include your name, address, telephone number, and the last
  mailed]                     four digits of your social security number. The letter must be mailed
                              to the following address: Optime Administration, LLC, PO Box 3206,
                              Brockton, MA 02304 (c/o Bonez Settlement). To be valid, the letter
                              must be postmarked by March 5, 2022.


  OBJECT TO THE               You may object to the settlement. If you object and the Court finally
  SETTLEMENT                  approves the settlement over your objection, you will remain in the
                              Settlement Class, receive a settlement payment, be legally bound by
  Postmark Deadline: [45      all orders and judgments entered by the Court, and will not be able to
  days after Notice           sue, or continue to sue, Defendants in any lawsuit relating to the claims
  mailed]                     in this lawsuit. To object to the settlement, you must send a letter
                              describing the reasons for your objection. This letter must include your
                              name, address, telephone number, and the last four digits of your social
                              security number. The letter must be mailed to the following address:
                              Optime Administration, LLC, PO Box 3206, Brockton, MA 02304
                              (c/o Bonez Settlement). To be valid, the letter must be postmarked by
                              March 5, 2022. Finally, if you object to the settlement,




                                                  2
<<ID>> - <<FIRST>> <<LAST>>
Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 6 of 9




                              you are entitled to appear at a Fairness Hearing and will be provided
                             with an opportunity to further explain the basis for your objection to
                             the Court.

 Do I Have A Lawyer In The Lawsuit?
 The Court has appointed the following attorney (“Class Counsel”) to represent you and other
 members of the Settlement Class:

      Brian D. Gonzales, Esq.
      The Law Offices of Brian D. Gonzales, PLLC
      2580 East Harmony Road, Suite 201.
      Fort Collins, CO 80528
      Phone: (970) 214-0562
      Email: bgonzales@coloradowagelaw.com

 You will not be required to pay the above attorney from your settlement payment. This attorney
 will submit a motion requesting that the Court award him no more than thirty-six (36) percent of
 the Gross Settlement Amount of $158,000 for his accumulated attorney’s fees and out-of-pocket
 expenses.

 If you want your own lawyer, you may hire one at your own expense. If you do so, your lawyer
 must file an appearance in the action. Alternatively, you may represent yourself pro se.

 What Will I Receive From The Settlement?
 The Gross Settlement Amount is $158,000. This is the maximum amount that Defendants are
 obligated to pay under the settlement. This amount consists of (i) up to $56,880 for attorney’s fees
 and litigation costs, (ii) up to $5,000 for the named plaintiff, (iii) $5,668.50 for settlement
 administration costs, and (iv) $90.451.50 to compensate Settlement Class members who do not
 exclude themselves from the settlement. This $158,000 amount includes all payroll taxes and
 withholdings, including Defendant’s share of such taxes and withholdings.

 Your individual payment amount is based on the total amount of tip credit that was taken against
 your wages between February 17, 2018, to May 01, 2021.

 What Do I Give Up As A Result Of The Settlement?
 In consideration for your settlement payment, you will be releasing Defendants and their respective
 heirs, descendants, dependents, executors, successors, assigns, and administrators, from any and all
 claims for unpaid wages arising between February 17, 2018, to May 01, 2021, that are based upon
 the claims alleged in the operative Complaint in this matter.

 When Will The Court Decide Whether To Give Final Approval To The Settlement?
 The Court will hold the Fairness Hearing at 10:30 AM on APRIL 7, 2022, in Courtroom C203,
 Second floor, Byron G. Rogers Courthouse, 1929 Stout Street, Denver, Colorado 80294. At this
 time, the Court will review the papers submitted by the parties and any objectors, and hear any
 properly noticed witnesses. The Court will decide either at or after the Fairness Hearing whether
 to grant final approval of the settlement, and will issue a written order of its decision.

                                                  3
<<ID>> - <<FIRST>> <<LAST>>
Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 7 of 9




 May I Attend The Fairness Hearing?
 Yes, any Settlement Class member may attend the hearing, but you do not need to do so in order
 to receive your individual payment amount. If you object to the settlement, you may submit your
 objections, as detailed above, along with any supporting documents, and declare your intent to
 appear at the fairness hearing, either personally or through an attorney.

 What Happens If The Court Does Not Give Final Approval?
 If the Court denies the parties’ request for final approval of the Settlement Agreement, no payments
 will be made under the settlement and this action will revert to its status immediately prior to the
 execution of the Settlement Agreement.

 If The Settlement Is Approved, When Will I Receive My Settlement Check?
 If the Court grants final approval, the Settlement Agreement will become effective after expiration
 of the time for all appeals of the Court’s final approval order or, if an appeal is filed, a final
 determination that the settlement should be approved. If you are eligible for an individual
 settlement amount, it will be distributed to you within thirty (30) days after the settlement becomes
 effective. By cashing your settlement check, you will be giving up your right to sue for unpaid
 wages in any other lawsuit arising from the claims released by this settlement.

 How Will My Settlement Amount Be Distributed To Me?
 If you are eligible for a settlement payment, the settlement administrator will send you a check.
 The settlement amount will be allocated to back pay and will be subject to withholding of federal,
 state, and local income and payroll taxes, as well as any other required withholdings, such as
 garnishments. You will receive an IRS Form W-2 for this payment from the settlement fund. The
 employer’s share of taxes will also be paid from the Gross Settlement Amount.

 Who Is Responsible For Paying The Taxes On My Settlement Amount?
 The settlement administrator will deduct federal, state, and local income and payroll taxes, as well
 as any other required withholdings, from your settlement amount. You are solely responsible for
 paying any other applicable taxes based on your receipt of a settlement payment. Neither your
 attorneys nor Defendants’ attorneys can provide any advice. You should consult your tax advisor
 if you have questions about the tax consequences of your individual settlement payments.

 How Can I Get a Copy of the Settlement Agreement and the Court’s Preliminary Approval
 Order?
 This Notice is a summary of your legal rights. These documents and all other pleadings and records
 in this lawsuit may be examined at any time during regular business hours in the Clerk’s Office at
 the Alfred A. Arraj United States Courthouse, Room A105, 901 19th Street, Denver, CO 80294-
 3589

 What If I Have Questions About This Notice Or My Individual Settlement Amount?
 If you have questions concerning the settlement, you may contact Class Counsel as described
 above.
 You should not contact the Court if you have questions about the settlement or this Notice.
                                                  4
<<ID>> - <<FIRST>> <<LAST>>
Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 8 of 9




 INTENTIONALLY LEFT BLANK




                                      5
<<ID>> - <<FIRST>> <<LAST>>
    Case 1:21-cv-00466-NRN Document 42-1 Filed 04/04/22 USDC Colorado Page 9 of 9




KAOS LIMITED SETTLEMENT
C/O OPTIME ADMINISTRATION, LLC
PO BOX 3206
BROCKTON, MA 02304




«First» «Last»
«ADDRESS» «ADDRESS2»
«CITY», «STATE» «ZIP»
   CID # «ID»




                                          6
   <<ID>> - <<FIRST>> <<LAST>>
